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               EXHIBIT B
JS 44 (Rev. 10/20)                     Case 1:25-cv-10313CIVIL COVER
                                                           Document 1-2 SHEET
                                                                         Filed 02/07/25                                                                Page 2 of 5
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
              Ashton Orr
              Ashton     et al.
                     Orr et al. [see attached]
                                [see attached]                                                                  Donald
                                                                                                                Donald J. Trump et
                                                                                                                       J. Trump et al.
                                                                                                                                   al. [see attached]
                                                                                                                                       [see attached]

        (b) County of Residence of First Listed Plaintiff’            Magnolia County,
                                                                                    .   nae
                                                                                       WV                      County of Residence of First Listed Defendant              ;     soe Lo” Zol''~*ia
                                                                                                                                                                              District ofofColumbia
                                                                      Maanolia County, WV                                                                                     District        Columbi
                                    (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

        (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)

              [See attached]
              [See attached]


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

                                        -
                                                                                                            (For Diversity Cases Only)                                     and One Box for Defendant)
a
LJ 1       U.S. Government              L] 3    Federal Question                                                                     PTF
                                                                                                                                        4        —
                                                                                                                                                  DEF                                        PTF
                                                                                                                                                                                                      ee
                                                                                                                                                                                                      DEF
             Plaintiff                            (U.S. Government Not a Party)                       Citizen of This State         Oo 1         oO1      Incorporated or Principal Place     O   4 Oo4


                                                                                                                                        TT
                                                                                                                                                            of Business In This State

 ✖ 2
[x] |      U.S. Government
             Defendant
                                        7 4 Diversity
                                        CJ
                                              (Indicate Citizenship of Parties in Item III)
                                                                                                      Citizen of Another State          Oo 2     oO2      Incorporated and Principal Place
                                                                                                                                                            of Business In Another State
                                                                                                                                                                                              —5 Oo5
                                                                                                                                                                                              O
                                                                                                      Citizen or Subject of a
                                                                                                        Foreign Country
                                                                                                                                        ~3 Oo3 Foreign Nation
                                                                                                                                        UO)                                                   7 6 O6
                                                                                                                                                                                              Oo


 IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                        Click here for: Nature of Suit Code Descriptions.
|      CONTRACT                             TORTS                                                       FORFEITURE/PENALTY                          BANKRUPTCY                      OTHER STATUTES            |
H  110 Insurance
   120 Marine
                                         PERSONAL INJURY
                                         310 Airplane                 c
                                                                      -
                                                                        365 Personal Injury -         P
                                                                        PERSONAL INJURY | 625 Drug Related Seizure
                                                                                                    of Property 21 USC 881                  H    422 Appeal 28 USC 158
                                                                                                                                                 423 Withdrawal                H
                                                                                                                                                                               375 False Claims Act
                                                                                                                                                                               376 Qui Tam (31 USC




                                                                                                                                                                                ae
0  130 Miller Act
   140 Negotiable Instrument
                                         315 Airplane Product
                                              Liability
                                                                            Product Liability
                                                                    L] 367 Health Care/
                                                                                                690 Other                                            28 USC 157                    3729(a))
                                                                                                                                                                           ] 400 State Reapportionment
L] 150 Recovery of Overpayment           320 Assault, Libel &               Pharmaceutical                                                      PROPERTY RIGHTS                410 Antitrust
       & Enforcement of Judgment              Slander                       Personal Injury                                                      820 Copyrights                430 Banks and Banking

                                                                      O
   151 Medicare Act                      330 Federal Employers’             Product Liability                                                    830 Patent                    450 Commerce




                                                                                                                                                                              i
H 152 Recovery of Defaulted
        Student Loans
                                              Liability
                                         340 Marine
                                                                        368 Asbestos Personal
                                                                            Injury Product
                                                                                                                                                 835 Patent - Abbreviated
                                                                                                                                                     New Drug Application
                                                                                                                                                                               4
                                                                                                                                                                               460 Deportation
                                                                                                                                                                               470 Racketeer Influenced and



                                                                                                                                               _]
        (Excludes Veterans)              345 Marine Product                 Liability                                                            840 Trademark                     Corrupt Organizations
                                                                       _H




o  153 Recovery of Overpayment
       of Veteran’s Benefits
                                              Liability
                                         350 Motor Vehicle
                                                                      PERSONAL PROPERTY
                                                                        370 Other Fraud
                                                                                                         LABOR
                                                                                                710 Fair Labor Standards
                                                                                                                                            4    880 Defend Trade Secrets
                                                                                                                                                     Act of 2016
                                                                                                                                                                               5
                                                                                                                                                                               480 Consumer Credit
                                                                                                                                                                                   (15 USC 1681 or 1692)
[] 160 Stockholders’ Suits               355 Motor Vehicle          H 371 Truth in Lending          Act                                                                     |]
                                                                                                                                                                               485 Telephone Consumer
                                                                      L
                                                                      c                               F                                     J                                  A
L] 190 Other Contract                        Product Liability          380 Other Personal    a 720 Labor/Management                             SOCIAL SECURITY                   Protection Act

:  195 Contract Product Liability
   196 Franchise
                                         360 Other Personal
                                             Injury
                                         362 Personal Injury -
                                                                            Property Damage
                                                                        385 Property Damage
                                                                            Product Liability
                                                                                                    Relations
                                                                                                740 Railway Labor Act
                                                                                                751 Family and Medical
                                                                                                                                                 861 HIA (1395ff)
                                                                                                                                                 862 Black Lung (923)
                                                                                                                                                 863 DIWC/DIWW (405(g))
                                                                                                                                                                               490 Cable/Sat TV
                                                                                                                                                                               850 Securities/Commodities/
                                                                                                                                                                                   Exchange

|          REAL PROPERTY
                                             Medical Malpractice
                                           CIVIL RIGHTS               PRISONER PETITIONS
                                                                                              [     Leave Act
                                                                                                790 Other Labor Litigation
                                                                                                                               |
                                                                                                                                            C1
                                                                                                                                                 864 SSID Title XVI
                                                                                                                                                 865 RSI (405(g))              |
                                                                                                                                                                               890 Other Statutory Actions
                                                                                                                                                                               891 Agricultural Acts
|_| 210 Land Condemnation
q
5
   220 Foreclosure
                                       ✖ 440 Other Civil Rights
                                       x
                                         441 Voting                   rA|
                                                                        Habeas Corpus:
                                                                        463 Alien Detainee
                                                                                                791 Employee Retirement
                                                                                                    Income Security Act
                                                                                                                                            ~
                                                                                                                                                FEDERAL TAX SUITS
                                                                                                                                                                               893 Environmental Matters
                                                                                                                                                                               895 Freedom of Information



                                                                                                                                                                               Cr
   230 Rent Lease & Ejectment            442 Employment                 510 Motions to Vacate                                               A    870 Taxes (U.S. Plaintiff         Act

:||240 Torts to Land
   245 Tort Product Liability
LJ 290 All Other Real Property
                                         443 Housing/
                                             Accommodations           -
                                                                            Sentence
                                                                        530 General
                                         445 Amer. w/Disabilities - |_| 535 Death Penalty             ~
                                                                                                    IMMIGRATION                   =
                                                                                                                                            -]
                                                                                                                                                      or Defendant)
                                                                                                                                                 871 IRS—Third Party
                                                                                                                                                      26 USC 7609
                                                                                                                                                                               896 Arbitration
                                                                                                                                                                               899 Administrative Procedure
                                                                                                                                                                                   Act/Review or Appeal of
                                             Employment                 Other:                  462 Naturalization Application                                                     Agency Decision
                                         446 Amer. w/Disabilities -
                                             Other
                                                                       1540 Mandamus & Other
                                                                        550 Civil Rights
                                                                                                465 Other Immigration
                                                                                                    Actions
                                                                                                                                                                               |]
                                                                                                                                                                               950 Constitutionality of
                                                                                                                                                                                   State Statutes
                                         448 Education                  555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
r=] Original
 ✖ 1
[x]
    Proceeding
                             LJ
                                  2 Removed from
                                    State Court
                                                            7 3 Remanded
                                                            CJ
                                                                           from
                                                                Appellate Court
                                                                                               7 4 Reinstated
                                                                                               LI
                                                                                                   Reopened
                                                                                                              or
                                                                                                                 7
                                                                                                                 CJ
                                                                                                                    5 Transferred from
                                                                                                                      Another District
                                                                                                                                       oO
                                                                                                                                        6 Multidistrict
                                                                                                                                          Litigation -
                                                                                                                                                                                      7 8 Multidistrict
                                                                                                                                                                                      CI
                                                                                                                                                                                          Litigation -
                                                                                                                          (specify)                        Transfer                          Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            U.S. Const.
                                            U.S. Const. amend.
                                                        amend. V;
                                                               V; U.S. Const. amend.
                                                                  U.S. Const. amend. I;I; 55 U.S.C.
                                                                                             U.S.C. § 706
                                                                                                    § 706
VI. CAUSE OF ACTION Brief description of cause:
                                                   oo.
                                            Constitutional and
                                            Constitutional
                                                                peay:
                                                           and APA
                                                               APA claims
                                                                   claims arising from discriminatory
                                                                          arising from
                                                                                                        7
                                                                                       discriminatory passport
                                                                                                      passport sex
                                                                                                                     Cs,
                                                                                                               sex designation policy
                                                                                                                   designation policy

VII. REQUESTED IN                          ✖|
                                          [x]    CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                                                             JURY DEMAND:                  CJ Yes     ✖ No
                                                                                                                                                                                              [x]

VIII. RELATED CASE(S)
                                                (See instructions):
      IF ANY                                                           JUDGE                                                                     DOCKET NUMBER
DATE                                                                        SIGNATURE OF ATTORNEY OF RECORD
    02/07/2025
    02/07/2025                                                              /s/ Jessie J.J. Rossman
                                                                            /s/             Rossman
FOR OFFICE USE ONLY

        RECEIPT #                   AMOUNT                                     APPLYING IFP                                     JUDGE                            MAG. JUDGE
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Question I(a) (Plaintiffs), continued:

Ashton Orr
Zaya Perysian
Sawyer Soe
Chastain Anderson
Drew Hall
Bella Boe
Reid Solomon-Lane


Question I(a) (Defendants), continued:

Donald J. Trump, in his official capacity as President of the United States;
U.S. Department of State:
Marco Rubio, in his official capacity as Secretary of State;
United States of America



Question I(b) (Plaintiffs’ Attorneys), continued:

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[continued on next page]
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